_ Case 1:98-cr-00038-JMS-MJD Document 92 Filed 12/14/99 Page 1 of 6 PagelD #: 1222

AO 245B (Rev. 8/96) Sheet 1 - Judgment in a Criminal Case

 

 

) United States District Court

Southern District of Indiana

UNITED STATES OF AMERICA
v

Willie Boddie

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)
Case Number: 1:98CR00038-002

 

 

 

 

Jeffrey Baldwin
THE DEFENDANT: Defendant's Attorney
[| pleaded guilty to count(s)
[] pleaded nolo contendere to count(s)
which was accepted by the court.
S<] was found guilty on count(s) 1, 7, 8, 12, 18, 21
<' after a plea of not guilty.
Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
Conspiracy to Possess with Intent to Distribute and to 06/01/1998 . 1
21 USC 844(a)(1) and 846 Distribute Cocaine
48 USC 1956(a)(1)(A)(B) and (h) Conspiracy to Commit Money Laundering 06/01/1998 7,8

18 USC 1956(a)(1)(B) Money Laundering

06/01/1998 12, 18, 21

The defendant is sentenced as provided in pages 2 through _6__ of this judgment. The sentence is imposed pursuant

to the Sentencing Reform Act of 1984.

[] The defendant has been found not guilty on count(s)

 

[| Count(s) (is)(are) dismissed on the motion of the United States.

 

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

judgment are fully paid.

Defendant's Soc. Sec. No.: 4031

12/10/1999

 

Defendant's Date of Birth: [971

 

Defendant's USM No.: 40001-037

 

Defendant's Residence Address:

Bureau of Prisons

 

Date of Imposition of Judgment

/

 

 

Indianapolis IN 46204

 

~fendant's Mailing Address:

reau of Prisons

 

Indianapolis IN 46204

 

 

~~ of Judicial Offeer

Honorable Larry J. Mc Kinney, Judge
US. District Court

 

‘Name & Title of Judicial Officer

/2[ 14199
= ppv 55 po
Case 1:98-cr-00038-JMS-MJD Document 92 Filed 12/14/99 Page 2 of 6 PagelD #: 1223

AO 245B (Rev. 8/96) Sheet 2 - |mprisonment

 

 

Judgment-Page __ 2 of _ 6
NEFENDANT: Willie Boddie

ISENUMBER: _—_‘1:98CR00038-002
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of life

Count 1: Life; Counts 7, 8, 12, 18, and 21: 240 months to be served concurrent.

[| The court makes the following recommendations to the Bureau of Prisons:

SX The defendant is remanded to the custody of the United States Marshal.

[| The defendant shall surrender to the United States Marshal for this district:

[_] at - am./p.m. on
[| as notified by the United States Marshal.

J The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[ before 2 p.m. on

 

[_] as notified by the United States Marshal.
[| as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

 

By

Deputy U.S. Marshal
Case 1:98-cr-00038-JMS-MJD Document 92 Filed 12/14/99 Page 3 of 6 PagelD #: 1224

AO 245B (Rev. 8/96) Sheet 3 - Supervised Release

 

Judgment-Page __3 of 6

DEFENDANT: Willie Boddie

iS

1.)
2.)

3.)
4)
5.)

6.)
7.)

8.)
9.)

10.)
11.)

12.)

ENUMBER: _—1:98CR00038-002
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 year(s)

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one

drug test within 15 days of release from imprisonment and two periodic drug tests thereafter, as directed by the probation
officer.

The above drug testing condition is suspended based on the court's determination that the defendant poses a low
risk of future substance abuse. (Check, if applicable.)

if convicted of a domestic violence offense for the first time, the defendant shall attend a public, private, or non-
profit offender rehabilitation program approved by the Court if an approved program is within a 50 mile radius of the
defendant's residence. (Check, if applicable.)

x The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant
pay any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall notify the Court of any material change in economic
circumstances that might affect the ability to pay.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The
defendant shall also comply with the additional conditions on the attached page (if indicated below).

See Special Conditions of STAND Sheet 3.01 -
STA

NDARD CONDITIONS OF SUPERVISION
the defendant shall not leave the judicial district without the permission of the court or probation officer;
the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
of each month;
the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
the defendant shall support his or her dependents and meet other family responsibilities;
the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
acceptable reasons;
the defendant shall notify the probation officer ten days prior to any change in residence or employment;
the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
narcotic or other controlled substance, or any paraphernalia related to such substances, except as prescribed by a physician;
the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;
the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shail permit confiscation of
any contraband observed in plain view of the probation officer;
the defendant shall notify the probation officer with seventy-two hours of being arrested or questioned by a law enforcement
officer;
the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court;

13.) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendants

criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendants compliance with such notification requirement.
» Case 1:98-cr-00038-JMS-MJD Document 92 Filed 12/14/99 Page 4 of 6 PageID #: 1225

AO 245B (Rev. 8/96) Sheet 3 - Supervised Release

QEFENDANT: Willie Boddie
ASE NUMBER: 1:98CR00038-002

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall provide the probation officer access to any requested financial information.

2. The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
officer.

3. The defendant shall participate in a program of testing and/or treatment for substance abuse as directed by the probation
officer.

4. The defendant shall submit to the search of his person, vehicle, office/business, residence and property by the probation officer
and to seizure of any contraband found, including illegal drugs and weapons. The defendant shall warn other residents that the

premises may be subject to searches.

Judgment-Sheet 3.01
Case 1:98-cr-00038-JMS-MJD_ Document 92 Filed 12/14/99 Page 5 of 6 PagelD #: 1226
AO 245B (Rev. 8/96) Sheet 5, Part A - Criminal Monetary Penalties

 

Judgment-Page __4 of 6
OEFENDANT: Willie Boddie

\SENUMBER: __1:98CR00038-002
CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
forth on Sheet 5, Part B.

Assessment Fine Restitution
Totals: $ 600.00 $ 5,000.00 $
[| If applicable, restitution amount ordered pursuant to plea agreement............. $
FINE

The above fine includes costs of incarceration and/or supervision in the amount of $ .

The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day
after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 5, Part B may be subject to
--~nalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
The interest requirement is waived.

[J The interest requirement is modified as follows:

RESTITUTION

[| The determination of restitution is deferred until . An Amended Judgment in a Criminal Case
will be entered after such determination.
[| The court determined that the defendant does not have the ability to pay interest and it is ordered that:

(| The interest requirement is waived.

[| The interest requirement is modified as follows:

[| The defendant shall make restitution to the following payees in the amounts listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless

specified otherwise in the priority order or percentage payment column below.
Priority Order

* Total Amount of or Percentage
Amount ofLoss Restitution Ordered of Payment
Name of Payee

Totals:

 

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994 but before April 23, 1996.
“Case 1:98-cr-00038-JMS- .
AO 2488 (Rac bas) Shoot. oOo ee Mo MID pe ocument 92 Filed 12/14/99 Page 6 of 6 PagelD #: 1227

Judgment-Page 5 of 6

TEFENDANT: Willie Boddie
ASE NUMBER: 1:98CR00038-002

SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution;
(5) interest; (6) penalties.

Payment of the total fine and other criminal monetary penalties shall be due as follows:

A xX in full immediately; or

B [| $ immediately, balance due (in accordance with C, D, or E); or

Cc [| not later than ; or

D [| in installments to commence day(s) after the date of this judgment. In the event the entire amount of
criminal monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. probation
officer shall pursue collection of the amount due, and shall request the court to establish a payment schedule if
appropriate; or

E ( in (e.g. equal, weekly, monthly, quarterly) installments of $
over a period of year(s) to commence day(s) after the date of this judgment.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Special instructions regarding the payment of criminal monetary penalties:

[| Joint and Several
Joint & Several

Case Number Defendant N
Including Defendant Numbers Jetendant Name Amount

[| The defendant shall pay the cost of prosecution.
[ The defendant shall pay the following court cost(s):

[| The defendant shall forfeit the defendant's interest in the following property to the United States:

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penaities shall be due during the period of imprisonment. All criminal monetary
penalty payments, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility Program are
to be made as directed by the court, the probation officer, or the United States attorney. ,
